           Case
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   ERIC JOHNSON
     Chief, Criminal Division
 3   Assistant United States Attorney
     333 Las Vegas Boulevard, South, Suite 5000
 4   Las Vegas, NV 89101

 5
                                UNITED STATES DISTRICT COURT
 6                                   DISTRICT OF NEVADA

 7
     UNITED STATES OF AMERICA,              )             Case No. 2:13-cr-00120-APG-GWF
 8                                          )
              Plaintiff,                    )
 9                                          )             MOTION UNDER LR IA 10.3 FOR
                                                          DEPARTMENT OF JUSTICE TRIAL
              v.                            )
                                                          ATTORNEY TO APPEAR IN THIS COURT
10                                          )             ON BEHALF OF THE UNITED STATES
     MICHAEL SAN CLEMENTE, et al.           )
11                                          )
              Defendants.                   )
12                                          )
     _______________________________________)
13

14           The United States of America, by and through Daniel G. Bogden, United States Attorney,

15   and Eric Johnson, Chief, Criminal Division, Assistant United Sates Attorney, respectfully moves

16   that United States Department of Justice Criminal Division Trial Attorney Jonathan A. Ophardt

17   be permitted to appear in this Court in the above captioned case under LR IA 10.3. Mr. Ophardt

18   is a member in good standing of the highest court of the State of North Carolina. In addition,

19   Mr. Ophardt is employed by the United States as an attorney,

20   ...

21   ...

22   ...

23   ...




                                                     1
         Case
          Case2:13-cr-00120-APG-GWF
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 1   and in the course and scope of his employment, has occasion to appear in this Court on behalf of

 2   the United States.

 3          Dated this 10th day of September, 2013

 4                                                        DANIEL G. BOGDEN
                                                          United States Attorney
 5

 6                                                        /s/Eric Johnson
                                                          ________________________________
 7                                                        ERIC JOHNSON
                                                          Chief, Criminal Division
 8                                                        Assistant United States Attorney

 9

10
            IT IS SO ORDERED              __________________________
11                                        UNITED STATES DISTRICT / MAGISTRATE JUDGE
                                                    ________________________________
12                                                  GEORGE FOLEY, JR.
                                                    United States Magistrate Judge
13
                                                         DATED: September 13, 2013
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